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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


                                                         No. 2:20-cv-03326-AB
    IN RE: WIRECARD AG SECURITIES
    LITIGATION                                           CLASS ACTION




    THIS DOCUMENT RELATES TO:
    ALL CASES


                                                 ORDER

         AND NOW, this 9th day of February, 2023 it is ORDERED that:

     •   Upon review of Plaintiffs’ Motion for Reconsideration of Order #88 (ECF No. 90),

         Defendant Ernst & Young GmbH Wirtschaftsprüefungsgesellschaft’s (“EY Germany”)

         Response in Opposition (ECF No. 93), and Plaintiffs’ Reply in Support of Lead

         Plaintiffs’ Motion for Reconsideration (ECF No. 94), the Motion is GRANTED. 1

         Accordingly, the Order (ECF No. 88) is VACATED.




1
         In order to prevail on a motion for reconsideration, a party seeking reconsideration must
demonstrate one of the following: “(1) an intervening change in the controlling law; (2) the availability of
new evidence that was not available when the court granted the motion for summary judgment; or (3) the
need to correct a clear error of law or fact or to prevent a manifest injustice.” Max’s Seafood Café ex rel.
Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). Plaintiffs argue that the Court reconsider
its prior Order (ECF No. 88) on the grounds that their request for jurisdictional discovery was previously
presented in their Opposition to Defendant EY Germany’s Motion to Dismiss (ECF No. 76) and
overlooked by the Court, which would cause manifest injustice.
         The Court agrees, and its analysis is guided by the Third Circuit’s appellate review of a denial of
jurisdictional discovery in Toys "R" Us, Inc. v. Step Two, S.A., 318 F.3d 446 (3d Cir. 2003). Plaintiffs
made a request for jurisdictional discovery on the basis of “factual allegations that suggest ‘with
reasonable particularity’ the possible existence of the requisite [contacts]” following up on “information
known” to Plaintiffs, namely the interaction between EY Germany and EY U.S. as stated in the
Declaration of Annedore Streyl (ECF No. 64-3) submitted by Defendant EY Germany. Id. at 457-59
(citing Mellon Bank (East) PSFS, Nat’l Ass’n v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)). The
request for jurisdictional discovery should have been granted.

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  •   Plaintiffs’ request to seek jurisdictional discovery from EY Germany is GRANTED.

  •   The close of jurisdictional discovery is May 9, 2023.

  •   Plaintiffs must file a supplemental brief on the issue of personal jurisdiction on or before

      May 29, 2023.

  •   Defendant EY Germany must file a supplemental brief in response on the issue of

      personal jurisdiction on or before June 19, 2023.

  •   Plaintiffs may file a reply to Defendant EY Germany’s response on or before July 10,

      2023.


                                                    __s/ANITA B. BRODY, J.________
                                                    ANITA B. BRODY, J.



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